                        NOTICE AND WARRANT OF APPREHENSION AND REMOVAL
                                   UNDER THE ALIEN ENEMIES ACT

A-File No:
          - - - - - - - - - - - - - - - - - - - - - Date:- - - - - - - -
In the Matter of:
                  -----------------------------
Date of Birth: _ _ _ _ _ _ __                          Sex:         Male              Female

Warrant of Apprehension and Removal

To any authorized law enforcement officer:
The President has found that Tren de Aragua is perpetrating, attempting, or threatening an invasion or
predatory incursion against the territory of the United States, and that Tren de Aragua members are thus
Alien Enemies removable under Title 50, United States Code, Section 21.

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ has been determined to be: (1) at least fourteen years of
          (Full Name of Alien Enemy)
age; (2) not a citizen or lawful permanent resident of the United States; (3) a citizen of Venezuela; and (4)
a member ofTren de Aragua. Accordingly, he or she has been determined to be an Alien Enemy and, under
Title 50, United States Code, Section 21, he or she shall be apprehended, restrained, and removed from the
United States pursuant to this Warrant of Apprehension and Removal.
        Signature of Supervisory Officer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        Title of Officer:                                                          Date: - - - - - - -
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Notice to Alien Enemy
I am a law enforcement officer authorized to apprehend, restrain, and remove Alien Enemies. You have
been determined to be at least fourteen years of age; not a citizen or lawful permanent resident of the United
States; a citizen of Venezuela; and a member of Tren de Aragua. Accordingly, under the Alien Enemies
Act, you have been determined to be an Alien Enemy subject to apprehension, restraint, and removal from
the United States. Until you are removed from the United States, you will be detained under Title 50, United
States Code, Section 21. Any statement you make now or while you are in custody may be used against you
in any administrative or criminal proceeding. This is not a removal under the Immigration and Nationality
Act. If you desire to make a phone call, you will be permitted to do so.
After being removed from the United States, you must request and obtain permission from the Secretary of
Homeland Security to enter or attempt to enter the United States at any time. Should you enter or attempt
to enter the United States without receiving such permission, you will be subject to immediate removal and
may be subject to criminal prosecution and imprisonment.

Signature of alien: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             Date: - - - - - - -

                                     CERTIFICATE OF SERVICE
I personally served a copy of this Notice and Warrant upon the above-named person on _·_ _ _ _ __
and ensured it was read to this person in a language he or she understands.               (Date)


Name of officer/agent                                 Signature of officer/agent

                                                                                               Form AEA-21B
